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                        UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF PENNSYLVANIA

 SANDY RICKETTS,                             : Civil Action
                      Plaintiff,             :
       v.                                    : No.: 2:15-cv-04726 TJS
 BIEBER TIME TOURING, LLC                    :
 c/o TSG FINANCIAL MANAGEMENT,               :
 LLC, and                                    :
 BIEBER TIME MERCHANDISE, LLC                :
 c/o TSG FINANCIAL MANAGEMENT,               :
 LLC, and                                    :
 JUSTIN BIEBER, c/o TSG FINANCIAL            :
 MANAGEMENT, LLC, and                        :
 PATRICIA MALLETTE, c/o TSG                  :
 FINANCIAL MANAGEMENT, LLC                   :
                      Defendants.            :
 SANDY RICKETTS,                             : Civil Action
                      Plaintiff,             :
       v.                                    :
 CITY OF PHILADELPHIA,                       : No.: 2:15-cv-05036 TJS
 c/o CITY LAW DEPARTMENT and                 :
 COMCAST SPECTACOR, LP, and                  :
 COMCAST SPECTACOR, INC., and                :
 GLOBAL SPECTRUM, LP, and                    :
 GLOBAL SPECTRUM, INC., and                  :
 AEG LIVE PRODUCTIONS, LLC                   :
                     Defendants.             :

                                        ORDER

      AND NOW, this                 day of             , 2015, upon consideration of the

Plaintiff’s Motion to Consolidate Actions, together with any answer thereto, it is hereby

ORDERED and DECREED that said motion is GRANTED, and the above two captioned

actions are consolidated for purposes of discovery and trial, with the lead case being

Sandy Ricketts V. Bieber Time Touring, LLC c/o TSG Financial Management, LLC et al

Case No.: No.: 2:15-cv-04726 TJS.
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       It is further ORDERED and DECREED that the consolidated cases are remanded

to the Philadelphia Court of Common Pleas for further proceedings including discovery

and trial.



                                BY THE COURT:


                                ____________________________________
                                                             J.
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                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA

 SANDY RICKETTS,                               : Civil Action
                      Plaintiff,               :
       v.                                      : No.: 2:15-cv-04726 TJS
 BIEBER TIME TOURING, LLC                      :
 c/o TSG FINANCIAL MANAGEMENT,                 :
 LLC, and                                      :
 BIEBER TIME MERCHANDISE, LLC                  :
 c/o TSG FINANCIAL MANAGEMENT,                 :
 LLC, and                                      :
 JUSTIN BIEBER, c/o TSG FINANCIAL              :
 MANAGEMENT, LLC, and                          :
 PATRICIA MALLETTE, c/o TSG                    :
 FINANCIAL MANAGEMENT, LLC                     :
                      Defendants.              :
 SANDY RICKETTS,                               : Civil Action
                      Plaintiff,               :
       v.                                      :
 CITY OF PHILADELPHIA,                         : No.: 2:15-cv-05036 TJS
 c/o CITY LAW DEPARTMENT and                   :
 COMCAST SPECTACOR, LP, and                    :
 COMCAST SPECTACOR, INC., and                  :
 GLOBAL SPECTRUM, LP, and                      :
 GLOBAL SPECTRUM, INC., and                    :
 AEG LIVE PRODUCTIONS, LLC                     :
                     Defendants.               :

             PLAINTIFF’S MOTION TO CONSOLIDATE ACTIONS
         AND REMAND TO PHILADELPHIA COURT OF COMMON PLEAS


             Plaintiff, SANDY RICKETTS (hereinafter “Plaintiff”), by and through his

undersigned attorneys, hereby files the instant Motion to Consolidate Actions, requesting

that Plaintiff’s action captioned at U.S. District Ct., E.D.Pa. 2:15-cv-05036 TJS be

consolidated with Plaintiff’s action captioned at U.S. District Ct., E.D.Pa.2:15-cv-04726

TJS          In this regard, Plaintiff avers as follows:
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                            Count I- Motion for Consolidation

              1.     These cases both arise out of a personal injury suffered by Plaintiff,

SANDY RICKETTS, on July 17, 2013, while attending a Justin Bieber concert with her

granddaughter at the Wells Fargo Center in Philadelphia, PA. Ms. Ricketts tripped and

fell over electrical cables laid across the aisle in the seating area inside the concert venue.

Suit was filed initially in the Philadelphia Court of Common Pleas against the Defendants,

CITY OF PHILADELPHIA, c/o CITY LAW DEPARTMENT, COMCAST SPECTACOR, LP,

COMCAST SPECTACOR, INC., GLOBAL SPECTRUM, LP, GLOBAL SPECTRUM, INC.,

and AEG LIVE PRODUCTIONS, LLC .

              2.      During the course of discovery, Plaintiff was provided with the

identities of other business entities who may have been responsible for laying the

electrical cable that caused Plaintiff’s fall. Plaintiff then filed a second action in the

Philadelphia Court of Common Pleas, SANDY RICKETTS v. BIEBER TIME TOURING,

LLC c/o TSG FINANCIAL MANAGEMENT, LLC, BIEBER TIME MERCHANDISE, LLC c/o

TSG FINANCIAL MANAGEMENT, LLC, JUSTIN BIEBER, c/o TSG FINANCIAL

MANAGEMENT,          LLC,    and     PATRICIA      MALLETTE,       c/o    TSG     FINANCIAL

MANAGEMENT, LLC.

              3.      This second lawsuit was removed to this Court by Defendants due

to diversity of citizenship, and assigned case number 2:15-cv-04726 TJS A true and

correct copy of the Notice of Removal and complaint are attached hereto as Exhibit “A”.

              4.      Subsequent to this removal, Defendant, AEG LIVE PRODUCTIONS,




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LLC, in the Philadelphia Court litigation, also removed that lawsuit to this Court based on

diversity of citizenship and assigned case number: No.: 2:15-cv-05036 TJS.

A true and correct copy of the aforesaid Notice of Removal and Complaint is attached

hereto as Exhibit “B”.

              5.      This motion seeks consolidation of the two above-captioned actions,

which arise out of the same incidents and involve "a common question of law or fact."

See Fed.R.Civ.P. 42(a).

              6.      Rule 42 (a) of the Federal Rules of Civil Procedure provides that:

                     When actions involving a common question of law or
                     fact are pending before the court, it may order a joint
                     hearing or trial of any or all the matters in issue in the
                     actions; it may make such orders concerning
              proceedings therein as may tend to avoid unnecessary costs
              or delay.

Fed.R.Civ.P. 42(a).

              7.      The purpose of Rule 42(a) "is to give the court broad discretion to

decide how cases on its docket are to be tried so that the business of the court may be

dispatched with expedition and economy while providing justice to the parties." Wright

& A. Miller, Federal Practice and Procedure, § 2381 (1971).

              8.      Rule 42(a) permits a district court to consolidate separate actions

when they involve "a common question of law or fact." Fed.R.Civ.P. 42(a). Even if there

are some questions that are not common, consolidation is not precluded. Batazzi v.

Petroleum Helicopters, Inc., 664 F.2d 49, 50 (5th Cir. 1981); See Central Motor Co. v.

United States, 583 F.2d 470 (10th Cir. 1978).




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              9.      Common questions of law and fact abound in these cases. Indeed,

they allege the identical set of facts and circumstances, only against different parties.

This case is therefore particularly appropriate for consolidation.

              10.     A court has broad discretion in determining whether consolidation

is practical. Atlantic States Legal Foundation Inc. v. Koch Refining Co., 681 F. Supp 609,

615 (D. Minn. 1988). In exercising this discretion, a court should weigh the time and effort

consolidation would save with any inconvenience or delay it would cause. Hendrix v.

Raybestos-Manhattan, Inc., 776 F.2d 1492, 1495 (11th Cir. 1985); Huene v. United States,

743 F.2d 703, 704 (9th Cir. 1984).

              11.     Consolidation offers efficiency and convenience in this case.

              12.     Consolidation will result in one trial which will bind all parties. This

will save time and avoid unnecessary costs to the Defendants, the Plaintiff, and witnesses

who would otherwise be required to testify in both cases, and this Honorable Court.

              13.     Consolidation will not delay the disposition of this case. In fact, it will

minimize delays.

              14.     This motion/petition seeks a consolidation of these two cases under

Fed.R.Civ.P. 42(a).

              WHEREFORE, Plaintiff respectfully requests this Honorable Court to enter

an Order which consolidates the above two matters which arise out of the same incident

and involve a common question of law or fact.




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                      Count II- Motion for Remand to State Court

              15.     Plaintiff hereby incorporates by reference paragraphs 1 thorugh 13

inclusive as though fully set forth at length herein.

              16.     Federal Rule of Civil Procedure 1441 (b) provides as follows

                (b) Any civil action of which the district courts have original jurisdiction
              founded on a claim or right arising under the Constitution, treaties or laws
              of the United States shall be removable without regard to the citizenship or
              residence of the parties. Any other such action shall be removable only if
              none of the parties in interest properly joined and served as defendants
              is a citizen of the State in which such action is brought. (emphasis added)


              17.     In   case   No.:   2:15-cv-05036      TJS,   Defendants,   CITY   OF

PHILADELPHIA, c/o CITY LAW DEPARTMENT, COMCAST SPECTACOR, LP,

COMCAST SPECTACOR, INC., GLOBAL SPECTRUM, LP, and                        GLOBAL SPECTRUM,

INC., are all citizens and residents of the County of Philadelphia and Commonwealth of

Pennsylvania, the forum state in which this action was originally brought.

              18.     In addition ,the incident in question took place in the County of

Philadelphia, Commonwealth of Pennsylvania, the forum state in which this action was

originally brought.

              19.     The Defendants in this action do no have proper removal jurisdiction

under Federal Rule of Civil Procedure 1441 (b), and these consolidated cases should be

remanded to the Philadelphia Court of Common Pleas.

              20.     Rule 1447(c) of the Federal Rules of Civil Procedure provides for




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a remand of actions removed to Federal Court if filed within 30 days of removal.

The consolidated action involving the five Philadelphia Defendants was removed on

September 30, 2015 and this Motion has been filed in a timely manner.

             WHEREFORE, Plaintiff respectfully requests this Honorable Court to enter

an Order which remands the consolidated cases back to the Philadelphia Court of

Common Pleas for further proceedings and trial.

                               Respectfully submitted,



                               JEFFREY R. LESSIN & ASSOCIATES, P.C.



                               By:    /s/Jeffrey R. Lessin
                                      JEFFREY R. LESSIN, ESQUIRE
                                      MARK T. RICHTER, ESQUIRE
                                      JEFFREY R. LESSIN & ASSOCIATES, P.C.
                                      Pa. Atty Nos. 43801 and 45195
                                      1515 Market Street, Suite 714
                                      Philadelphia, Pa 19102
                                      (215) 599-1400
October 9, 2015
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                        UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF PENNSYLVANIA

 SANDY RICKETTS,                               : Civil Action
                      Plaintiff,               :
       v.                                      : No.: 2:15-cv-04726 TJS
 BIEBER TIME TOURING, LLC                      :
 c/o TSG FINANCIAL MANAGEMENT,                 :
 LLC, and                                      :
 BIEBER TIME MERCHANDISE, LLC                  :
 c/o TSG FINANCIAL MANAGEMENT,                 :
 LLC, and                                      :
 JUSTIN BIEBER, c/o TSG FINANCIAL              :
 MANAGEMENT, LLC, and                          :
 PATRICIA MALLETTE, c/o TSG                    :
 FINANCIAL MANAGEMENT, LLC                     :
                      Defendants.              :
 SANDY RICKETTS,                               : Civil Action
                      Plaintiff,               :
       v.                                      :
 CITY OF PHILADELPHIA,                         : No.: 2:15-cv-05036 TJS
 c/o CITY LAW DEPARTMENT and                   :
 COMCAST SPECTACOR, LP, and                    :
 COMCAST SPECTACOR, INC., and                  :
 GLOBAL SPECTRUM, LP, and GLOBAL               :
 SPECTRUM, INC., and                           :
 AEG LIVE PRODUCTIONS, LLC                     :
                     Defendants.               :

       PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF MOTION TO
                        CONSOLIDATE ACTIONS


             Plaintiff, SANDY RICKETTS (hereinafter “Plaintiff”), by and through his

undersigned attorneys, hereby files the instant Motion to Consolidate Actions, requesting

that Plaintiff’s action captioned at U.S. District Ct., E.D.Pa. 2:15-cv-05036 TJS be




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consolidated with Plaintiff’s action captioned at U.S. District Ct., E.D.Pa.2:15-cv-04726

TJS



I. Factual Background

              Both cases arise from a single incident that occurred on July 17, 2013,, when

Plaintiff, SANDY RICKETTS, while attending a Justin Bieber concert with her

granddaughter at the Wells Fargo Center in Philadelphia, PA., fell over electrical cables

inside the concert venue. Suit was filed initially in the Philadelphia Court of Common

Pleas against the owners of the Wells Fargo Center and the Production company

responsible for the concert, i.e.,Defendants, CITY OF PHILADELPHIA, c/o CITY LAW

DEPARTMENT, COMCAST SPECTACOR, LP, COMCAST SPECTACOR, INC., GLOBAL

SPECTRUM, LP, GLOBAL SPECTRUM, INC., and AEG LIVE PRODUCTIONS, LLC .

              All of these Defendants, save AEG LIVE PRODUCTIONS, LLC, are citizens

of the Commonwealth of Pennsylvania and County of Philadelphia, the jurisidiction where

suit was filed.

              During the course of discovery, Plaintiff was provided with the identities of

other business entities who may have been responsible for laying the electrical cable that

caused Plaintiff’s fall. Plaintiff then filed a second action in the Philadelphia Court of

Common Pleas, SANDY RICKETTS v. BIEBER TIME TOURING, LLC                         c/o TSG

FINANCIAL MANAGEMENT, LLC, BIEBER TIME MERCHANDISE, LLC c/o TSG

FINANCIAL         MANAGEMENT,      LLC,    JUSTIN    BIEBER,     c/o   TSG    FINANCIAL




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MANAGEMENT,           LLC,    and   PATRICIA      MALLETTE,      c/o   TSG       FINANCIAL

MANAGEMENT, LLC. with the intent of consolidating the two actions in the Philadelphia

Court of Common Pleas.

               This second lawsuit was removed to this Court by Defendants due to

diversity of citizenship, and assigned case number 2:15-cv-04726 TJS .

Subsequent to this removal, Defendant, AEG LIVE PRODUCTIONS, LLC, in the

Philadelphia Court litigation, also removed that lawsuit to this Court based on diversity

of citizenship and assigned case number: No.: 2:15-cv-05036 TJS.

               This motion seeks consolidation of the two above-captioned actions, which

arise out of the same incidents and involve "a common question of law or fact." See

Fed.R.Civ.P. 42(a). This Motion also seeks the remand of the consolidated cases back to

the Philadelphia Court of Common Pleas, because the Defendants do not have proper

removal jurisdiction under Federal Rule of Civil Procedure 1441 (b).

II. Argument

               a. The Cases should be consolidated because the actions involve a
                   common question of law and fact and arise from the same incident.


               Rule 42 (a) of the Federal Rules of Civil Procedure provides that:

               When actions involving a common question of law or fact are
               pending before the court, it may order a joint hearing or trial
               of any or all the matters in issue in the actions; it may make
               such orders concerning proceedings therein as may tend to
               avoid unnecessary costs or delay.

Fed.R.Civ.P. 42(a).




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               The purpose of Rule 42(a) "is to give the court broad discretion to decide

how cases on its docket are to be tried so that the business of the court may be

dispatched with expedition and economy while providing justice to the parties." Wright

& A. Miller, Federal Practice and Procedure, § 2381 (1971). Rule 42(a) permits a district

court to consolidate separate actions when they involve "a common question of law or

fact." Fed.R.Civ.P. 42(a). Even if there are some questions that are not common,

consolidation is not precluded. Batazzi v. Petroleum Helicopters, Inc., 664 F.2d 49, 50 (5th

Cir. 1981); See Central Motor Co. v. United States, 583 F.2d 470 (10th Cir. 1978).

               Common questions of law and fact abound in these cases. Indeed, they

allege the identical set of facts and circumstances, only against different parties. This case

is therefore particularly appropriate for consolidation.

               A court has broad discretion in determining whether consolidation is

practical. Atlantic States Legal Foundation Inc. v. Koch Refining Co., 681 F. Supp 609,

615 (D. Minn. 1988). In exercising this discretion, a court should weigh the time and effort

consolidation would save with any inconvenience or delay it would cause. Hendrix v.

Raybestos-Manhattan, Inc., 776 F.2d 1492, 1495 (11th Cir. 1985); Huene v. United States,

743 F.2d 703, 704 (9th Cir. 1984). Consolidation offers efficiency and convenience in this

case.    Consolidation will also result in one trial which will bind all parties. This will save

time and avoid unnecessary costs to the Defendants, the Plaintiff, and witnesses who

would otherwise be required to testify in both cases, and this Honorable Court.




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              Consolidation will also not delay the disposition of this case. In fact, it will

minimize delays. This motion/petition seeks a consolidation of these two cases under

Fed.R.Civ.P. 42(a).

              b. The Consolidated Cases Should Be Remanded to State Court
                   pursuant to Federal Rule of Civil Procedure 1447(c).


              Removal of a state case to the federal courts should not be granted lightly

and removal jurisdiction based on diversity is controlled by Federal Rule of Civil

Procedure 1441 (b) which provides as follows

                (b) Any civil action of which the district courts have original jurisdiction
              founded on a claim or right arising under the Constitution, treaties or laws
              of the United States shall be removable without regard to the citizenship or
              residence of the parties. Any other such action shall be removable only if
              none of the parties in interest properly joined and served as defendants
              is a citizen of the State in which such action is brought. (emphasis added)


              In case No.: 2:15-cv-05036 TJS, Defendants, CITY OF PHILADELPHIA, c/o

CITY LAW DEPARTMENT, COMCAST SPECTACOR, LP, COMCAST SPECTACOR,

INC., GLOBAL SPECTRUM, LP, and GLOBAL SPECTRUM, INC., are all citizens and

residents of the County of Philadelphia and Commonwealth of Pennsylvania, the forum

state in which this action was originally brought.

              In this case, five of the Defendants are citizens of the forum state in which

this action was originally brought. The Defendants in this action do no have proper

removal jurisdiction under Federal Rule of Civil Procedure 1441 (b), and these




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consolidated cases should be remanded to the Philadelphia Court of Common Pleas for

discovery and trial. Since the consolidated case against the five Philadelphia Defendants

was removed on September 9, 2015, this motion to remand has been filed in a timely

manner and this Honorable Court should remand these consolidated cases to the

Philadelphia Court of Common Pleas.

III. Conclusion

         For these reasons ,Plaintiff respectfully requests this Honorable Court to enter an

Order which consolidates the above two matters which arise out of the same incident and

involve a common question of law or fact, and then remand the consolidated cases to

the Philadelphia Court of Common Pleas for further proceedings, including discovery and

trial.



                                  Respectfully submitted,



                                  JEFFREY R. LESSIN & ASSOCIATES, P.C.




                                  By:   /s/ Jeffrey R. Lessin
                                        JEFFREY R. LESSIN, ESQUIRE
                                        MARK T. RICHTER, ESQUIRE
                                        Pa. Atty Nos. 43801 and 45195
                                        1515 Market Street, Suite 714
                                        Philadelphia, Pa 19102
                                        (215) 599-1400

October 9, 2015




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                              CERTIFICATE OF SERVICE


             I hereby certify that a true and correct copy of this filing was sent , on the

date set forth below, to the counsel set forth below. All other parties not served

electronically were served in accordance with the Federal Rules of Civil Procedure. All

other parties will be electronically served by the Court via the CM/ECF system.

 Thomas M. Savon, Esquire                     Karen E. Rompala, Esquire
 Naulty, Scaricamazza & McDevitt, LLC         City of Philadelphia Legal Department
 1617 John F. Kennedy Boulevard               One Parkway
 One Penn Center, Suite 750                   1515 Arch Street
 Philadelphia, PA 19103                       Philadelphia, PA 19102-1595


 Brian J. McNulty, Esquire                    Andrew Susko, Esquire
 Marshall, Dennehey, Warner,                  White & Williams
 Coleman & Goggin                             1650 Market Street
 620 Freedom Business Center, Suite 300       Suite 1800
 King of Prussia, PA 19406                    Philadelphia, PA 19103




                               JEFFREY R. LESSIN & ASSOCIATES, P.C.

                               By:    /s/ Jeffrey R. Lessin
                                     JEFFREY R. LESSIN, ESQUIRE
                                     Attorney for Plaintiff

Dated: October 9, 2015
